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 3
                            UNITED STATES DISTRICT COURT
 4                         EASTERN DISTRICT OF WASHINGTON
 5
       UNITED STATES OF AMERICA,            ) No. CR-11-181-WFN-9
 6                                          )
                 Plaintiff,                 ) ORDER GRANTING AGREED MOTION
 7                                          ) TO PERMIT CONTACT
       v.                                   )
 8                                          )
       MICHAEL L. WILSON,                   )
 9                                          )
                 Defendant.                 )
10                                          )
                                            )
11
12            Before the court is the Agreed Motion to Amend the Conditions

13    of Release to permit the Defendant Michael L. Wilson to have contact

14    with the co-Defendant Alice Woodburn, provided they agree not to

15    discuss the pending case.         Since, Mr. Wilson is in custody and

16    release conditions never were set, the court construes the Motion as

17    a Motion to permit contact with Ms. Woodburn.

18            The court finds that there is good cause to grant the requested

19    relief.    Accordingly,

20            IT IS ORDERED that Defendant’s Motion (ECF No. 234) is GRANTED.

21    Mr. Wilson may have contact with Co-Defendant Alice Woodburn,

22    provided they do not discuss the pending case.

23
24          DATED February 8, 2012.

25
26                              S/ CYNTHIA IMBROGNO
                           UNITED STATES MAGISTRATE JUDGE
27
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      ORDER GRANTING AGREED MOTION TO PERMIT CONTACT - 1
